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10
                           UNITED STATES DISTRICT COURT
11
12                       CENTRAL DISTRICT OF CALIFORNIA
13
14   THE TIRE HANGER CORPORATION, a            Case No. 5:16-cv-2668
15   California corporation;

16         Plaintiff,                          COMPLAINT FOR PATENT
                                               INFRINGEMENT
17                v.
18   SHINN FU COMPANY OF AMERICA,              DEMAND FOR JURY TRIAL

19   INC. and SHINN FU CORPORATION.

20         Defendants.

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                         COMPLAINT FOR PATENT INFRINGEMENT
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 1          Plaintiff The Tire Hanger Corporation (“Plaintiff” or “Tire Hanger”) hereby pleads
 2   its claim for patent infringement against Defendants Shinn Fu Company of America, Inc.
 3   and Shinn Fu Corporation (“Defendants” or “Shinn Fu”), as follows:
 4
 5                                          THE PARTIES
 6         1.    Plaintiff The Tire Hanger Corporation is a California corporation with a
 7   business address of 8608 Utica Avenue, Suite 220, Rancho Cucamonga, CA 91730.
 8         2.    Plaintiff is informed and believes, and based thereon alleges that Defendants
 9   market, sell, and distribute products in this district.
10         3.    Upon information and belief, Defendants have U.S. offices located at 8411
11   154th Avenue NE, Redmond, WA 98052 and 10939 N. Pomona Avenue, Kansas City,
12   Missouri 64153.
13                                  NATURE OF THE ACTION
14         4.    This is a civil action for infringement of patents arising under the laws of the
15   United States relating to patents, 35 U.S.C. §1, et seq., including without limitation, 35
16   U.S.C. §§271, 281. Plaintiff Tire Hanger seeks a preliminary and permanent injunction
17   and monetary damages for patent infringement.
18                                 JURISDICTION AND VENUE
19         5.    Tire Hanger re-alleges and incorporates by reference the foregoing allegations
20   as though fully set forth herein.
21         6.    This is an action for patent infringement arising under the patent laws of the
22   United States, 35 U.S.C. §§ 1, et seq. This Court has subject matter jurisdiction over this
23   action pursuant to 28 U.S.C. §§1331 and 1338(a).
24         7.    Venue is proper in this judicial district under 28 U.S.C. §§ 1391(c) and
25   1400(b) because a substantial part of the events giving rise to the claims occurred in this
26   judicial district. Defendants are subject to personal jurisdiction in this judicial district
27   because they employed and contracted distributors to market the accused products in this
28   district.

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 1         8.    On information and belief, Defendants are subject to the jurisdiction of this
 2   Court by reason of its acts of patent infringement which have been committed in this
 3   district, and by virtue of its regularly conducted and systematic business contacts in this
 4   State. Defendants conducted business within this judicial district, including the acts
 5   complained herein. As such, Defendant have purposefully availed itself of the privilege
 6   of conducting business within this Judicial District. Defendants operate their business in
 7   this judicial district by employing multiple distributors in this district for their infringing
 8   products. Defendants have made, used, sold and/or offered for sale of its infringing
 9   products and placed such infringing products in the stream of interstate commerce with
10   the expectation that such infringing products would be made, used, sold and/or offered
11   for sale within this district.
12                                    FACTUAL BACKGROUND
13         9.    Tire Hanger re-alleges and incorporates by reference the foregoing allegations
14   as though fully set forth herein.
15        10.    Tire Hanger operates a business located in Rancho Cucamonga, California,
16   which offers patented products for hanging tires on automotive lifts during servicing.
17        11.    Plaintiff is the owner of all rights and title to United States Patent Numbers
18   6,604,610 (“the ‘610 Patent”) and 6,681,897(“the ‘897 Patent”), which pertain generally
19   to methods and apparatus for supporting vehicle wheels that have been temporarily
20   removed from a vehicle disposed on a lift or hoist, i.e. a tire hanger.
21                                    THE ACCUSED PRODUCTS
22        12.    Defendants design, manufacture, assemble and/or import products that
23   constitute a material part of the invention claimed in the ‘610 patent and are installed on
24   automotive hoists for use in practicing processes claimed in the ‘897 patent.
25        13.    These products include, but are not limited to the OMEGA WHEEL ARMTM,
26   Model 92100, sold on Defendants’ website at
27   http://www.shinnfuamerica.com/ProductDetails/Omega/100LBWheelArm/92100/1772.
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 1        14.    These products are sold under the OMEGA brand or as manufactured and sold
 2   under other brands including Rotary Lift’s Wheel Wing, part FA5974 (“the Accused
 3   Products”).
 4        15.    Plaintiff is informed and believes Defendants sell their infringing products in
 5   this District through local retail stores and distributors, including but not limited to
 6   O’Reilly Auto Parts, Walmart.com, Amazon.com, and eBay.com.
 7                                    THE PATENTS-IN-SUIT
 8        16.    On August 12, 2003, U.S. Patent Number 6,604,610 (“the ‘610 Patent”)
 9   entitled APPARATUS FOR SUPPORTING AUTOMOTIVE TIRES, was duly and
10   legally issued by the United States Patent and Trademark Office. Roy Starling, Anthony
11   Gibson and Martin Roden are the patent’s named inventors and Plaintiff is owner, by
12   assignment, of the entire right, title and interest in the ‘610 Patent and vested with the
13   right to bring this suit for damages and other relief. A true and correct copy of the ‘610
14   Patent is attached as Exhibit A to this Complaint.
15        17.    Independent claim 1 of the ‘610 recites:
16         A hoist used in raising and lowering an automotive vehicle, comprising:
17              a moving member that raises and lowers along with the raising and lowering
           of the vehicle;
18              a mount body disposed on the moving member;
19              a hanger extending from the mount body, positioned, sized and dimensioned
           to receive and support a tire/wheel assembly removed from the vehicle and placed
20         thereon while the vehicle is in a raised position; and
21              a vertical member, and the moving member is substantially perpendicularly
           cantilevered off the vertical member.
22
23        18.    On October 31, 2014, the Defendants filed a petition for inter partes review
24   (“IPR”) for claims 1, 3, 5, 7, and 11 of the ‘610 before the Patent Trial and Appeal Board
25   (“PTAB”).
26        19.    On April 23, 2015, the PTAB denied Defendants’ petition and did not institute
27   an IPR on any of the challenged claims. A true and correct copy of the PTAB’s decision
28   denying institution of inter partes review is attached as Exhibit B to this Complaint.

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 1        20.   Defendants did not appeal the PTAB’s decision.
 2        21.   On January 27, 2004, U.S. Patent Number 6,681,897(“the ‘897 Patent”),
 3   entitled, APPARATUS FOR SUPPORTING AUTOMOTIVE TIRES, was duly and
 4   legally issued by the United States Patent and Trademark Office. Roy Starling, Anthony
 5   Gibson and Martin Roden are the patent’s named inventors and Plaintiff is owner, by
 6   assignment, of the entire right, title and interest in the ‘897 Patent and vested with the
 7   right to bring this suit for damages and other relief. A true and correct copy of the ‘897
 8   Patent is attached as Exhibit C to this Complaint.
 9        22.   On October 31, 2014, the Defendants filed an IPR petition for claims 1
10   through 5 of the ‘897 before the PTAB.
11        23.   On April 22, 2016, the PTAB issued its final written decision concluding that
12   Plaintiff demonstrated that the proposed substitute claims 6 through 10 of the ‘897 are
13   patentable. A true and correct copy of the PTAB’s final written decision is attached as
14   Exhibit D to this Complaint.
15        24.   Independent claim 6 of the ‘897 patent recites the following:
16         A method for a human to use a support arm to temporarily retain a vehicle wheel
           during removal and reinstallation of the wheel with respect to a vehicle,
17
           comprising, in the following order, the steps of:
18              elevating the vehicle on an automotive hoist so that a support arm disposed on
19         the hoist is at about the same height as a wheel of the vehicle, and the human can
           remove the wheel without bending over;
20              removing the wheel from the vehicle;
21         carrying the wheel to the support arm, wherein the human carries an entire weight
           of the wheel;
22                hanging the wheel on the support arm, wherein the step of hanging the wheel
23         on the support arm consists essentially of guiding a hole in the wheel over the
           support arm and releasing the wheel;
24              removing the wheel from the support arm substantially without the human
25         bending over, wherein the step of removing the wheel from the support arm
           consists essentially of grasping the wheel and pulling the wheel clear of the support
26         arm; and
27              reinstalling the wheel onto the vehicle.
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 1                                          COUNT ONE
 2                      INDUCED INFRINGEMENT OF THE ‘610 PATENT
 3        25.   Plaintiff re-alleges and incorporates herein by reference each and every
 4   allegation of paragraphs 1 through 24 above as though fully set forth here.
 5        26.   Upon information and belief, Defendants have induced and continues to
 6   induce others to infringe the ‘610 Patent under 35 U.S.C. §271(b) by, and with specific
 7   intent, actively aiding and abetting others to engage in the following actions that
 8   constitute direct infringement: 1) using and selling the Accused Products; and 2)
 9   combining the Accused Products with other components to form the claimed invention.
10   Such other entities include Defendants’ distributors, customers and end users of the ‘610
11   Patent Accused Products.
12        27.   Exhibit E is a claim chart showing where each and every limitation of the
13   claims 1, 3, 5, 7 and 11 of the ‘610 is infringed by the Accused Product.
14        28.   Tire Hanger has been harmed by the Defendants’ infringing activities.
15        29.   The Defendants’ continued infringement has been in reckless disregard of Tire
16   Hanger’s patent rights.
17        30.   On information and belief, the Defendants’ infringement has been and
18   continues to be willful.
19        31.   Based on the foregoing, Tire Hanger alleges that Defendants have infringed
20   claims 1, 3, 5, 7, and 11 of the ‘610 Patent.
21        32.   Defendants have since at least the filing of this complaint, had knowledge of
22   the induced infringement of the ‘610 Patent.
23                                         COUNT TWO
24                  CONTRIBUTORY INFRINGEMENT OF THE ‘610 PATENT
25        33.   Plaintiff re-alleges and incorporates herein by reference each and every
26   allegation of paragraphs 1 through 32 above as though fully set forth here.
27        34.   In violation of 35 U.S.C. §271(c) Defendants’ acts of contributory
28   infringement of ‘610 Patent include its advertising, offering for sale, and selling the

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 1   Accused Products. Defendants had actual and constructive knowledge of the ‘610 patent
 2   and that Defendants’ offers to sell and sales of the Accused Products would lead to
 3   infringement of the patent.
 4        35.   Exhibit E is a claim chart showing where each and every limitation of the
 5   claims 1, 3, 5, 7 and 11 of the ‘610 is infringed by the Accused Product.
 6        36.   Tire Hanger has been harmed by the Defendants’ infringing activities.
 7        37.   The Defendants’ continued infringement has been in reckless disregard of Tire
 8   Hanger’s patent rights.
 9        38.   On information and belief, the Defendants’ infringement has been and
10   continues to be willful.
11        39.   Based on the foregoing, Tire Hanger alleges that Defendants have infringed
12   claims 1, 3, 5, 7, and 11 of the ‘610 Patent.
13        40.   Defendants have since at least the filing of this complaint, had knowledge of
14   the contributory infringement of the ‘610 Patent.
15                                        COUNT THREE
16                      INDUCED INFRINGEMENT OF THE ‘897 PATENT
17        41.   Plaintiff re-alleges and incorporates herein by reference each and every
18   allegation of paragraphs 1 through 40 above as though fully set forth here.
19        42.   Upon information and belief, Defendants have induced and continues to
20   induce others to infringe the ‘897 Patent under 35 U.S.C. §271(b) by, and with specific
21   intent, actively aiding and abetting others to engage in the following actions that
22   constitute direct infringement: 1) performing the steps of the method claims in connection
23   with the use of the ‘897 Patent Accused Products; 2) using and selling the Accused
24   Products; and 3) combining the Accused Products with other components to form the
25   claimed invention. Such other entities include Defendants’ distributors, customers and
26   end users of the ‘897 Patent Accused Products.
27        43.   Exhibit E is a claim chart showing where each and every limitation of the
28   claims 6, 7, and 9 of the ‘897 is infringed by the Accused Product.

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 1        44.   Tire Hanger has been harmed by the Defendants’ infringing activities.
 2        45.   The Defendants’ continued infringement has been in reckless disregard of Tire
 3   Hanger’s patent rights.
 4        46.   On information and belief, the Defendants’ infringement has been and
 5   continues to be willful.
 6        47.   Based on the foregoing, Tire Hanger alleges that Defendants have infringed
 7   claims 6, 7, and 9 of the ‘897 Patent.
 8        48.   Defendants have since at least the filing of this complaint, had knowledge of
 9   the induced infringement of the ‘897 Patent.
10                                         COUNT FOUR
11              CONTRIBUTORY INFRINGEMENT OF THE ‘897 PATENT
12        49.   Plaintiff re-alleges and incorporates herein by reference each and every
13   allegation of paragraphs 1 through 48 above as though fully set forth herein.
14        50.   In violation of 35 U.S.C. §271(c) Defendants’ acts of contributory
15   infringement of ‘897 Patent include its advertising, offering for sale, and selling the
16   Accused Products. Defendants had actual and constructive knowledge of the ‘897 patent
17   and that Defendants’ offers to sell and sales of the Accused Products would lead to
18   infringement of the patent.
19        51.   Exhibit E is a claim chart showing where each and every limitation of the
20   claims 6, 7, and 9 of the ‘897 is infringed by the Accused Product.
21        52.   Tire Hanger has been harmed by the Defendants’ infringing activities.
22        53.   The Defendants’ continued infringement has been in reckless disregard of Tire
23   Hanger’s patent rights.
24        54.   On information and belief, the Defendants’ infringement has been and
25   continues to be willful.
26        55.   Based on the foregoing, Tire Hanger alleges that Defendants have infringed
27   claims 6, 7, and 9 of the ‘897 Patent.
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 1        56.      Defendants have since at least the filing of this complaint, had knowledge of
 2   the contributory infringement of the ‘897 Patent.
 3                                     PRAYER FOR RELIEF
 4                 WHEREFORE, Plaintiff prays for relief and judgment as follows:
 5      a) That Defendants infringed the ‘610 and ‘897 Patents;
 6      b) Compensation for all damages caused by Defendants’ infringement of the Patents-
 7          in-Suit to be determined at trial;
 8      c) A finding that this case is exceptional and award of reasonable attorneys’ fees
 9          pursuant to 35 U.S.C. §285;
10      d) Granting Plaintiff pre-and post-judgment interest on its damages, together with all
11          costs and expenses; and,
12      e) Awarding such other relief as this Court may deem just and proper.
13                                  DEMAND FOR JURY TRIAL
14          Pursuant to Federal Rule of Civil Procedure 38, Tire Hanger hereby demands a
15   jury trial.
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17   Dated: December 29, 2016                    Respectfully submitted,
18
19                                       By: /s/ John D. van Loben Sels
                                             John D. van Loben Sels
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                                                 Counsel for The Tire Hanger Corporation
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 1                                 CERTIFICATE OF SERVICE
 2
 3            I hereby certify that a true and correct copy of the above and foregoing document
 4    was served on all counsel of record via the Court’s CM/ECF system on December 29,
 5    2016.
 6
 7                                            Respectfully submitted,
 8
 9                                       By: /s/ John D. van Loben Sels
10                                           John D. van Loben Sels

11                                            Counsel for The Tire Hanger Corporation
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                                     CERTIFICATE OF SERVICE
